              Case 1:06-mj-70203-NJV            Document 6       Filed 05/31/06      Page 1 of 1



1    KEVIN RYAN (CSBN 118321)
     United States Attorney
2
     EUMI L. CHOI (WVSBN 0722)
3    Chief, Criminal Division
4    ZACHARY D. BIRD (CSBN 222656)
     Special Assistant United States Attorney
5
6        450 Golden Gate Avenue, 11th Floor
         San Francisco, California 94102
7
8
     Attorneys for Plaintiff
9

10                                  UNITED STATES DISTRICT COURT
11                                NORTHERN DISTRICT OF CALIFORNIA
12                                           EUREKA DIVISION
13
14
     UNITED STATES OF AMERICA,           )                   CR No.: 1:06:70203
15                                       )
                                         )
16               Plaintiff,              )                   ORDER
                 v.                      )
17                                       )
     SCOTT WILLIAM STARNS,               )
18                                       )
                                         )
19               Defendant.              )
     ____________________________________)
20

21   UPON motion of the United States of America, and good cause appearing, it is hereby ordered,
22   pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, that the Warrant of Arrest and
23   Complaint in the above mentioned matter be dismissed.
24
25   SO ORDERED.
26   DATED:______________
           5/31/06                                  _____________________________________
                                                    NANDOR J. VADAS
27                                                  United States Magistrate Judge
28


     Order for Dismissal
